  Case 3:10-cv-00025-DRH-DGW Document 7 Filed 02/16/10 Page 1 of 1 Page ID #19


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

RICHARD SC0TT,                      )
                                    )
          Plaintiff,                )
                                    )
     VS.                            )                      NO. 10-CV-025-DRH
                                    )
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
                                    )
          Defendant.                )

                                        ORDER

HERNDON, Chief Judge

      Having been advised by counsel for the parties that the above action has been settled

but that additional time is needed to consummate settlement, the Court DIRECTS the

Clerk of the Court to enter judgment of dismissal with prejudice and without costs 60 days

from the date of this Order. Should the parties fail to consummate settlement within 60

days, they may petition the Court to delay entry of judgment until a later date. In light of

the settlement, the Court DENIES all motions pending in this case as moot and VACATES

all court dates in this case.

IT IS SO ORDERED.

DATED: February 16, 2010

                                                    /s/ DavidRHer|do|
                                                  CHIEF JUDGE
                                                  U.S. DISTRICT COURT
